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                                                                   Friday, 16 March, 2018 01:12:10 PM
                                                                         Clerk, U.S. District Court, ILCD

                     UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF ILLINOIS
                             URBANA DIVISION
____________________________________________________________________________

UNITED STATES OF AMERICA,                        )
                                                 )
                     Plaintiff,                  )
       v.                                        )      Case No. 17-CR-20037
                                                 )
BRENDT A. CHRISTENSEN,                           )
                                                 )
                     Defendant.                  )

                                         ORDER

       Defendant, Brendt A. Christensen, filed a Motion to Unseal Docket Entry #32

(#61) and a Motion to Recuse (#63) on February 7, 2018. The government filed its

Responses (#68, 69) on February 14, 2018. For the following reasons, Defendant’s

Motion to Recuse (#63) is DENIED. Defendant’s Motion to Unseal Docket Entry #32

(#61) is GRANTED.

                                   BACKGROUND

       On June 30, 2017, a criminal complaint was filed against Defendant alleging that

he committed the kidnapping of Yingying Zhang. Defendant was arrested that same

day. On July 3, 2017, private counsel entered their appearance on Defendant’s behalf.

On July 5, 2017, following a hearing, Defendant was ordered to remain detained

pending trial. On July 12, 2017, Defendant was indicted on one count of kidnapping in

violation of 18 U.S.C. § 1201(a)(1). Defendant entered a plea of not guilty and a jury trial

was set for September 12, 2017.
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       On August 28, 2017, a pretrial conference was held. Defendant had previously

filed a Motion to Continue (#18) the trial date, which the government joined. During the

hearing, the court granted the motion, vacating the final pretrial and jury trial dates.

The court set a new final pretrial date of February 12, 2018, and a jury trial date of

February 27, 2018.

       On September 8, 2017, twelve days after the previous hearing, the court granted

private counsel’s Motion to Withdraw (#20) as attorney and appointed the Federal

Defender’s Office to represent Defendant. The court ordered that, adhering to a

previously entered protective order, the government would provide the Federal

Defender’s Office discovery by the end of the next week. The court also noted that

private counsel was authorized to turn over to the Federal Defender everything in their

possession.

       Due to the possibility of this matter becoming a death penalty case, Defendant

moved for the appointment of death penalty certified Learned Counsel. On September

14, 2017, this court granted the motion and appointed Robert L. Tucker as Learned

Counsel in this case.

       On October 3, 2017, a superseding indictment was filed alleging Defendant

committed a kidnapping that resulted in death in violation of 18 U.S.C. § 1201(a)(1), and

two counts of providing false statements in violation of 18 U.S.C. § 1001(a)(2).

Defendant was arraigned on the superseding indictment on October 11, 2017.




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       On October 24, 2017, Defendant filed a Motion to Continue Final Pretrial and

Trial Dates (#29), seeking to vacate the February 12, 2018 final pretrial, and February 27,

2018 jury trial dates, and to have the trial date moved to October 2018.

       Defendant made multiple arguments in support of his motion for a continuance:

the ends of justice require a substantial continuance; in order to provide Defendant with

effective assistance of counsel, counsel must have sufficient time to investigate and

prepare; the government had delayed production of Rule 16 discovery; defense counsel

was required to treat the case as capital at that point, because professional standards

required that “once a client is detained under circumstances in which the death penalty

is legally possible, counsel should proceed as if it will be sought ... [and] must continue

to treat the case as capital until the imposition of the death penalty is no longer a legal

possibility.” Defendant argued that these considerations, when analyzed under the

Seventh Circuit’s seven non-exhaustive factors for determining whether to grant a

continuance motion, required the granting of his motion to continue.

       The government filed its Response (#30) on November 2, 2017. The government

argued that because the government had not indicated it would seek the death penalty,

the trial date of February 27, 2018 should be kept. The government also noted that

Defendant had presented no compelling reasons for why, absent the death penalty

being sought, the trial should be moved from the February 2018 date.




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       On November 7, 2017, the court received and opened an unsolicited letter, sent

directly to chambers from a community member, asking the court to “hold firm” to the

February trial date and “not allow [the trial] to be delayed further.” The court ordered

the letter docketed, but sealed.1 That same day, Defendant filed his Reply (#33) to the

government’s Response.

       On November 15, 2017, this court entered an Order (#34) denying Defendant’s

Motion to Continue Trial. In determining whether to grant the continuance, the court

applied the non-exhaustive seven-factor list articulated by the Seventh Circuit in United

States v. Miller, 327 F.3d 598, 601 (7th Cir. 2003). The court found that, since the case was

not a capital case, five and one half months was sufficient time for counsel to prepare

for trial in a case of this nature. Along with the Miller factors, the court considered the

purpose and spirit of the Speedy Trial Act, including the public’s interest in the speedy

resolution of justice. The court conspicuously noted, however, that were this to become

a death penalty case, “the court would welcome a renewed motion to continue the trial

from Defendant (or the government) in order for appropriate dates to be established

under those circumstances.”




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         The court expected that the sealed letter would be electronically provided to the
parties. However, through an oversight, the court was unaware that the latest version
of the electronic filing system (“ECF”) did not automatically provide copies of this
sealed filing to the parties. Instead, with this version of ECF, it is necessary for a human
to intervene and for the document to be e-mailed to the parties.

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       On January 15, 2018, Defendant filed a Motion to Permit Counsel to Access

Docket Entry #32 (#37), which this court granted as soon as the motion was reviewed

three days later.

       On February 7, 2018, Defendant filed the instant Motion to Unseal Docket Entry

#32 (#61) and Motion to Recuse (#63).

                                    ANALYSIS

       Defendant has moved the court to recuse itself under 28 U.S.C. § 455(a), based on

the “appearance of partiality that has resulted from the court’s sealing from the parties

the letter docketed as Docket Entry #32, the subject matter of the letter, and the court’s

subsequent ruling on the motion to continue.”

       The Seventh Circuit has written, concerning recusals under § 455(a):

       Section 455(a) of the Judicial Code provides: Any justice, judge, or
       magistrate judge of the United States shall disqualify himself in any
       proceeding in which his impartiality might reasonably be questioned. 28
       U.S.C. § 455(a). The Supreme Court has explained that the goal of section
       455(a) is to avoid even the appearance of partiality. Accordingly, we have
       required recusal whenever there is a reasonable basis for a finding of an
       appearance of partiality under the facts and circumstances of the case.
       Recusal is required when a reasonable person perceives a significant risk
       that the judge will resolve the case on a basis other than the merits.

In re U.S., 572 F.3d 301, 308 (7th Cir. 2009) (internal citations and quotes omitted).

       The Seventh Circuit has further warned that “needless recusals exact a significant

toll” and judges “therefore should exercise care in determining whether recusal is

necessary, especially when proceedings already are underway.” In re U.S., 572 F.3d at

308.


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       Under the case law, there is no reason for the court to recuse itself in this

instance. A party seeking recusal must present “compelling evidence” of bias so that a

reasonable person would be convinced the judge is biased. United States v. Modjewski,

783 F.3d 645, 649 (7th Cir. 2015). Judicial rulings alone almost never constitute a valid

basis for a bias or partiality motion. Liteky v. United States, 510 U.S. 540, 555 (1994). The

Supreme Court, when discussing judicial rulings, further elaborated:

       In and of themselves (i.e., apart from surrounding comments or
       accompanying opinion), they cannot possibly show reliance upon an
       extrajudicial source; and can only in the rarest circumstances evidence the
       degree of favoritism or antagonism required (as discussed below) when
       no extrajudicial source is involved. Almost invariably, they are proper
       grounds for appeal, not for recusal.

       Second, opinions formed by the judge on the basis of facts introduced or events
       occurring in the course of the current proceedings, or of prior proceedings, do
       not constitute a basis for a bias or partiality motion unless they display a
       deep-seated favoritism or antagonism that would make fair judgment
       impossible. Thus, judicial remarks during the course of a trial that are critical or
       disapproving of, or even hostile to, counsel, the parties, or their cases, ordinarily
       do not support a bias or partiality challenge. They may do so if they reveal an
       opinion that derives from an extrajudicial source; and they will do so if they
       reveal such a high degree of favoritism or antagonism as to make fair judgment
       impossible.

Liteky, 510 U.S. at 555.

       The only alleged “appearance of partiality” under the facts and circumstances of

this case was the court’s sealing of an unsolicited, non-party letter from a member of the

community that urged the court not to continue the trial while the motion to continue

was pending.




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       The basis for the court’s ruling on the motion to continue rested on the dictates of

case law, and not in any way on the unsolicited letter. In fact, in its Order (#52) on the

Motion to Permit Access to Docket Entry #32, the court made clear that the letter had

absolutely no impact on its ruling on the motion to continue.

       Nevertheless, Defendant, in his motion for recusal, chose to ignore the court’s

clear declaration that the letter had no impact, and to claim the appearance of some type

of partiality. Defendant’s entire argument is premised upon the idea that the court was

somehow influenced, by the letter, to deny the motion to continue, or at least appears to

have been, even if was not influenced. The court will not relitigate the motion to

continue in this order. The reasons for the court’s ruling denying the motion to continue

are fully set forth in its Order (#34) of November 15, 2017.

       The facts as stated here do not constitute grounds necessary for recusal under §

455(a). In other cases where there were arguably stronger grounds for recusal due to the

judge’s relationship with counsel or parties, courts have denied motions to recuse under

§ 455(a).

       For example, in United States v. Kelhbeck, 766 F.Supp. 707 (S.D. Ind. 1990), the

court found recusal under § 455(a) was not required even though the court was

personally acquainted with the defendant and a witness in the case. Kehlbeck, 766

F.Supp. 707 at 712-13. Kehlbeck collected numerous other similar cases: Baker v. Detroit,

458 F.Supp. 374, 375 (E.D. Mich. 1975) (judge’s friendship with Mayor, who was

nominal party to lawsuit, did not require recusal); Parrish v. Board of Commissioners of the


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Alabama State Bar, 524 F.2d 98, 104 (5th Cir. 1975), cert. denied, 425 U.S. 944 (1976) (the

fact that judge was acquainted with witnesses and defense counsel did not require

recusal); Hunt v. Mobil Oil Corp., 557 F.Supp. 368, 377 (S.D.N.Y.), aff’d 742 F.2d 1438 (2d

Cir. 1983) (judge’s friendship with plaintiffs’ former counsel, who had a falling out with

plaintiffs, did not prejudice judge against plaintiffs); Miller Indus. Inc. v. Caterpillar

Tractor Co., 516 F.Supp. 84, 87 (S.D. Ala. 1980) (judge who had pooled investments with

former law partners need not recuse himself from case where former law partners’ law

firm served as plaintiff’s counsel); Smith v. Pepsico, Inc. 434 F.Supp. 524, 525–26 (S.D. Fla.

1977) (judge refused to recuse from case in which former law clerk served as plaintiff’s

attorney). The facts of the instant case do not come close to the suggestion of partiality

presented by the personal relationships in the cases collected by the Kehlbeck court.

       Interestingly, it is Defendant himself who is attempting to create the appearance

of partiality where there is none, straining to connect the letter, the court’s sealing of the

letter, and the court’s ruling on the motion to continue.2 The court’s ruling was based

entirely on case law, statutes, and the interests of justice, and had nothing to do with the

content of an unsolicited letter sent in by a private citizen unknown to the court. To try

and connect the court’s ruling to a completely inconsequential letter (which is of similar


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        Defendant places much importance on being told by the clerk’s office, at the
time the letter was docketed and sealed, that the court would not allow the parties
access to the physical letter. As indicated, this was the result of a misunderstanding by
the court as to the operation of the current version of the ECF system since the court
believed the letter was previously provided to the parties. Regardless, when Defendant
moved for the letter to be unsealed, the court granted the request within days, as it
would have at any time prior.

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content to letters appearing, for example, in letters to the editor sections of newspapers)

is to essentially ignore the Supreme Court’s precedent and make the argument that a

judicial ruling alone constitutes a valid basis for a bias or partiality motion, which, of

course, it does not. See Liteky, 510 U.S. at 555.

       Furthermore, applying the logic advanced by Defendant, if the court had granted

the motion, the government could make the argument that the letter influenced the

court in a negative direction, and thus the court should recuse itself. What if the letter

had advocated granting the motion? What if the court had received two letters, each

advocating a different position?

       Moreover, a recusal on these grounds would set a dangerous precedent. Imagine

a situation where a court observes protestors holding signs outside the courthouse. The

signs advocate for a particular outcome on a matter currently pending before the court.

The parties may not know that the judge saw these signs, but the judge knows. Should

that judge recuse himself because he just happened to see signs containing a message

that advocated a particular result? What if the judge overheard a public conversation

about some aspect of a case and how it should be decided, or heard a portion of a talk

radio program opining about a case? Again, should that judge recuse because of what

happened to be overheard?

       Following Defendant’s logic could lead to the parties or other interested

observers being able to game the judicial system. Were the court to recuse for the

reasons argued by Defendant, it would give the power to any interested individual to


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force a judge off a case by writing a letter to the court, or perhaps even to the local

newspaper, advocating one way or the other on a pending motion. If the mere fact that

a judge was exposed to such unsolicited communication or opinion could suffice for a

recusal based on an appearance of impropriety, nearly every judge in the country

would be frequently recusing themselves.

       There is a strong presumption that judges are impartial, and this presumption of

impartiality grows in large part from the fact that the practice of law is a profession, and

the judicial office is one specialized manifestation of that profession. Kehlbeck, 766

F.Supp. at 712-13. As a professional, a judge is presumed to be capable of distinguishing

his personal life from his professional obligations. Kehlbeck, 766 F.Supp. at 713. Judges

are exposed to media and outside opinions on matters that may appear in front of them

all of the time. Judges hold themselves to a high standard, however, in that those

outside opinions, whether in the form of letters to the editor, unsolicited mail, television

news, radio talk shows, news on the internet, or protestors holding signs, do not

influence a judge’s opinion on a legal matter.

       The crux of Defendant’s argument appears to be a tenuous connection of

presumptions and conclusory statements. As best as the court can determine,

Defendant argues that the mere sealing of the letter without copies being provided to

the parties3 suggested the court was apparently trying to hide something. This, the


       As stated, this was the result of a misunderstanding in the operation of the latest
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version of the ECF and was immediately remedied upon Defendant’s filing of a motion
seeking access.

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argument vaguely suggests, makes the court appear partial because the letter touched

on a matter pending before the court and the court subsequently ruled in the way urged

by the letter (one of the two ways in which the court could rule).

        Defendant’s argument makes no logical sense. Indeed, by docketing the letter the

court ensured that Defendant was aware of the letter’s existence. If the court were truly

influenced by the letter, and had become biased or partial against Defendant and

wanted to be “secretive” and “conceal” the letter as suggested by Defendant, why

would the court have docketed the letter at all, knowing that Defendant would notice

the docketing and seek access to the sealed document? The answer is clear: the court

did not intend to keep the letter from the parties. Once the court was made aware

through the motion that the parties could not access the letter, the court granted the

motion and Defendant was able to view the letter.

        Defendant cites to the provision in the Code of Judicial Conduct delineating how

judges should handle ex parte communications. The canon in question states, in relevant

part:

        A judge should accord to every person who has a legal interest in a
        proceeding, and that person’s lawyer, the full right to be heard according
        to law. Except as set out below, a judge should not initiate, permit, or
        consider ex parte communications or consider other communications
        concerning a pending or impending matter that are made outside the
        presence of the parties or their lawyers. If a judge receives an
        unauthorized ex parte communication bearing on the substance of a
        matter, the judge should promptly notify the parties of the subject matter
        of the communication and allow the parties an opportunity to respond, if
        requested.

Code of Conduct for United States Judges, Canon 3(A)(4).


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       Defendant spends much of his motion to recuse focusing on whether this court

properly handled an “ex parte” communication. Defendant, in citing to Canon 3(A)(4),

specifically italicized the portion reading “[i]f a judge receives an unauthorized ex parte

communication bearing on the substance of a matter, the judge should promptly notify

the parties of the subject matter of the communication and allow the parties an

opportunity to respond, if requested.”

       Defendant then goes on to cite In re S.D. Brenner III, LLC, 2014 WL 4536645

(Bankr. W.D. Mich. Sept. 9, 2014), for an example of how a court should properly handle

an ex parte communication. In that case, the debtor, without or against the advice of

counsel, sent three emails directly to the court regarding his bankruptcy case. In that

case, citing Canon 3(A)(4), the court directed the clerk to print each email, scan, and

enter each email on the docket, to give the interested parties notice of the substance of

the communications and the opportunity to review them.

       Defendant’s entire argument in this regard is without merit. The situation in the

instant case is distinguishable from that presented in Brenner. The ex parte

communication in Brenner was sent by one of the parties, which fits the traditionally

understood definition of the term “ex parte.” Indeed, ex parte communication is defined

as “[a] generally prohibited communication between counsel and the court when

opposing counsel is not present.” Black’s Law Dictionary 597 (7th Ed. 1999); Jordan v.

United States Department of Labor, 273 F.Supp.3d 214, 229 n.19 (D.D.C. 2017).




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       Unlike the communication in Brenner which was sent by a party to the case, the

communication in question here, the letter, was a non-party communication that did not

come from either of the parties in this case, but rather a random member of the public

unknown to this court, and thus it is not an ex parte communication as that term is

traditionally understood.

       The Commentary to Canon 3(A)(4) extends the restriction on ex parte

communications to include “communications from lawyers, law teachers, and others

who are not participants in the proceeding[,]” but allows a judge to “consult with other

judges or with court personnel whose function is to aid the judge in carrying out

adjudicative responsibilities.” Here, there was no “consultation” whatsoever between

the court and the writers of the letter. Thus, even were Canon 3(A)(4) to apply in this

situation, the court’s actions did not violate the Canon because the court did not

consider the letter in any way in reaching its decision on the motion to continue, nor did

the court consult the writers of the letter, and the court later remedied any oversight by

promptly making the letter available to counsel upon request by motion.4

       If the court were to accept the argument advanced by Defendant, every time the

court received, saw, or heard any type of communication concerning a case before the

court, this would constitute an ex parte communication requiring the court to promptly

notify the parties about the communication and allow the parties an opportunity to

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        Further, as noted by the government, a violation of the Code of Judicial
Conduct does not constitute automatic grounds for recusal. In re Judicial Misconduct, 91
F.3d 1416, 1418 (10th Cir. 1996) (the fact that a judge’s conduct violates the Canons does
not necessarily mean that it constitutes judicial misconduct).

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respond, if requested. In short, the court would spend significant time memorializing

“communications,” notifying parties, and holding hearings in all of its cases unless the

court was isolated from all television news programs, radio news programs,

newspapers, and news on the internet, and made sure not to listen to anything while in

public which could possibly be a “communication” involving any case before it. This

makes no sense.

       Finally, the defense overstates the court’s denial of the motion to continue, acting

as though the case was already a capital case at the time the motion was denied. This is

simply not true. Indeed, the court stated that if the case became a case in which the

government sought the death penalty, the court would welcome another motion to

continue, which it did, and the court has granted the motion and continued the case.

       To sum, the court received an unsolicited letter from a third party and placed it

in the file under seal. Based upon this letter, and blatantly ignoring the court’s

statement that the letter had no impact on its decision, Defendant asks the court to

recuse itself. Defendant has presented no “compelling evidence” of bias besides his own

stretched interpretation of some of the facts to create the appearance of partiality out of

thin air. The court finds that the motion to recuse amounts to a distraction from the

matters at issue in this case. This would be a needless recusal, which the Seventh Circuit

has cautioned courts to avoid. See In re U.S., 572 F.3d at 308. This frivolous motion is

DENIED.

       Motion to Unseal Docket Entry [32]



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       Defendant has filed a Motion to Unseal Docket Entry #32 (#61), arguing that the

public has a right to access judicial documents, that the document was relevant to

matters pending before the court at the time it was filed, that the document affected the

disposition of Defendant’s motion to recuse, and that the public cannot understand the

motion to recuse without access to the document that forms the basis for the motion.

The government replies that it has no opposition to unsealing the letter, provided that

pursuant to Federal Rule of Criminal Procedure 49.1(a) and Local Rule 49.12(A),

appropriate redactions are made from the letter to address privacy concerns, including

redacting any signatures, home addresses, or email addresses of an individual.

       A district court has discretion in determining whether to seal portions of the

record. County Materials Corp. v. Allen Block Corp., 502 F.3d 730, 739 (7th Cir. 2007). Most

documents filed in court are presumptively open to the public. Bond v. Utreras, 585 F.3d

1061, 1073 (7th Cir. 2009). However, the public’s right to access court records is not

unlimited, and a court may shield certain documents from the public when there is

good cause to do so. See Bond, 585 F.3d at 1074.

       The court believed it had good reason to seal the letter when it was received on

November 7, 2017. The letter was unsolicited and sent by a random member of the

community, whom the court does not know and, to the best of its knowledge, has never

met. Because the court opened and read the letter, it decided, out of an abundance of

caution, to docket the letter. However, the court also decided to seal the letter, both to

protect the identity of the private citizen letter writer, and to avoid inadvertently



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encouraging the public to write letters opining on the case in the hopes that their letters

will be placed on the official court docket and have their importance (which to the

court, again, is zero) inordinately magnified.

       The issue the letter was concerned with was resolved by the court’s Order (#34)

of November 15, 2017. That issue was then subsequently rendered moot once the case

became a death penalty case and a new motion to continue was filed and granted.

Therefore, the court will grant the motion to unseal with the redactions specified in Rule

49.1(a). However, the court must make a further point regarding the possibility of

additional unsolicited non-party letters being sent to the court in the future. The court’s

docket is not an open forum for people to express their views. The court will not post

any unsolicited email, letter, fax, etc. that someone with a personal opinion may send

the court without placing the matter under seal until such time as the subject matter of

the communication is no longer pending.5 The court is keen to keep the case docket

from becoming a repository for every member of the public to weigh in with their

opinion in the misguided belief that their opinion will be magnified, and take on some

kind of outsized importance, if they can somehow get it to the court and have it placed

on the official court docket. The letter at issue had no influence on this court’s decision

and concerned a matter that was ruled upon and, in any event, is now moot due to this

becoming a capital case.

       Defendant’s Motion to Unseal Docket Entry #32 (#61) is GRANTED.

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        The court will take steps to ensure the parties promptly receive copies of any
unsolicited communications filed under seal.

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       IT IS THEREFORE ORDERED:

       (1)    Defendant’s Motion to Unseal Docket Entry #32 (#61) is GRANTED.6

       (2)    Defendant’s Motion to Recuse (#63) is DENIED. The clerk is directed to

              unseal document (#63) the defendant’s Motion to Recuse and the

              government’s Response (#68).



              ENTERED this 16th day of March, 2018.



                                  s/ COLIN S. BRUCE
                                 U.S. DISTRICT JUDGE




       Due to the operation of the latest version of the ECF system, (#32) should
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remain under seal, but the clerk will redact the name of the letter writer, any signatures,
and the home address and designate it as (#32-2), which will be unsealed.

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